                           Case 2:20-cv-04215-JWH-JPR Document 39 Filed 06/01/21 Page 1 of 5 Page ID #:144




                              1 Greg A. Garbacz, Bar No. 167007
                                KLINEDINST PC
                              2 2 Park Plaza, Suite 1250
                                Irvine, California 92614
                              3 (714) 542-1800/FAX (714) 542-3592
                                ggarbacz@klinedinstlaw.com
                              4
                                Ricardo E. Diaz, Bar No. 320503
                              5 KLINEDINST PC
                                777 S. Figueroa Street, Suite 2800
                              6 Los Angeles, CA 90017
                                (213) 406-1100/FAX (213) 406-1101
                              7 rdiaz@klinedinstlaw.com
                              8 Attorneys for Defendant SN & BC, LLC
                                dba HAMPTON INN NORCO
                              9
                             10
                                                      UNITED STATES DISTRICT COURT
                             11
                                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                             12
2 PARK PLAZA, SUITE 1250
IRVINE, CALIFORNIA 92614




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                                ANA AVILA, an individual California          Case No. 2:20-cv-04215-CJC-JPR
                             14 resident, ALMA AVILA DOROTEO,
                                an individual California resident, and       JOINT NOTICE OF SETTLEMENT
                             15 the proposed class,                          IN LIEU OF JOINT RULE 26(F)
                                                                             REPORT
                             16              Plaintiffs,
                             17        v.                                    Hon. John W. Holcomb
                                                                             Courtroom: Dept. 2
                             18 SN & BC, LLC, dba HAMPTON INN
                                NORCO, a California corporation,             Hearing Date: June 18, 2021
                             19 TRINET HR XI, INC., a Delaware               Hearing Time: 11:00 a.m.
                                corporation, KIRIT PANSURIA, a               Trial Date: None Set
                             20 California resident, HR
                                OUTSOURCING ASSOCIATES, LLC,
                             21 a Delaware corporation, and DOES 1
                                THROUGH 10, inclusive,
                             22
                                             Defendants.
                             23
                             24
                             25 TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR
                             26 ATTORNEYS OF RECORD:
                             27        Plaintiffs, ANA AVILA and ALMA AVILA DOROTEO (“Plaintiffs”), and
                             28 defendant, SN & BC, LLC dba HAMPTON INN NORCO (“Defendant”)

                                                                         1                         Case No. 2:20-cv-04215-CJC-JPR
                                                            JOINT NOTICE OF SETTLEMENT
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                              1 (collectively hereinafter referred to as the “Parties”) by and through their respective
                              2 attorneys, hereby file this Joint Notice of Settlement in accordance with Local Rule
                              3 16-15.7 of this Court and this Court’s Scheduling Order, entered May 11, 2021. In
                              4 furtherance of this notice, the Parties respectfully request this Court take notice that
                              5 on or around April 12, 2021, the Parties agreed to resolve this matter, subject to a
                              6 fully executed Confidential Settlement Agreement (“Agreement”). The terms of the
                              7 Agreement are inclusive of the following:
                              8         1.    Defendant agrees to pay a confidential monetary sum to Plaintiffs on or
                              9 before June 2, 2021, or until Plaintiffs file the appropriate dismissals of their claims
                             10 against the defendants in this action, whichever comes later.
                             11         2.    Plaintiffs agree to dismiss each of their individual claims against all
                             12 defendants with prejudice.
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                             13         3.    Plaintiffs agree to dismiss each of their class allegations and/or claims
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                             14 against all defendants without prejudice.
                             15         4.    Plaintiffs agree to release all rights and claims, known and unknown,
                             16 which they have against all defendants named in this lawsuit, including but not
                             17 limited to Defendants Trinet HR XI, Inc., Kirit Pansuria, HR Outsourcings
                             18 Associates, LLC, and Fine Hospitality Group.
                             19         5.    The Agreement’s release provisions include a waiver of the Plaintiffs’
                             20 right to bring or participate in settlements of future representative or PAGA claims
                             21 against all defendants. However, the Agreement does not waive or resolve the
                             22 PAGA claims of any other “aggrieved employee” or the State of California with
                             23 respect to a prospective PAGA claim which as not been added to the Lawsuit.
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                                                                            2                   Case No. 2:20-cv-04215-CJC-JPR
                                                               JOINT NOTICE OF SETTLEMENT
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                              1                                   JOSE GARAY APLC/
                                                                  HAMNER LAW OFFICES, APLC
                              2
                              3
                                                                              /s/ Jose Garay
                              4                                   By:
                                  DATED: May 26, 2021                         /s/ Christopher J. Hamner
                              5                                         Jose Garay
                                                                        Christopher J. Hamner
                              6
                                                                        Attorneys for Plaintiffs
                              7
                                                                  KLINEDINST PC
                              8
                              9
                             10                                   By:
                                  DATED: May 26, 2021                         /s/ Ricardo E. Diaz
                             11                                         Greg A. Garbacz
                             12                                         Ricardo E. Diaz
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IRVINE, CALIFORNIA 92614




                                                                        Attorneys for Defendant SN & BC, LLC
                             13                                         dba HAMPTON INN NORCO
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                                                                        3                 Case No. 2:20-cv-04215-CJC-JPR
                                                           JOINT NOTICE OF SETTLEMENT
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                              1                           CERTIFICATE OF SERVICE
                              2                      Doroteo, et al. v. SN & BC, LLC, et al.
                                                Case No. 2:20-cv-04215-CJC-JPR (cm# 4852-5002)
                              3
                                  STATE OF CALIFORNIA, COUNTY OF ORANGE
                              4
                                       At the time of service, I was over 18 years of age and not a party to this
                              5 action. I am employed in the County of Orange, State of California. My business
                                address is 2 Park Plaza, Suite 1250, Irvine, California 92614.
                              6
                                       On June 1, 2021, I served true copies of the following document(s) described
                              7 as JOINT NOTICE OF SETTLEMENT IN LIEU OF A JOINT RULE 26(f)
                                REPORT on the interested parties in this action as follows:
                              8
                                                         SEE ATTACHED SERVICE LIST
                              9
                                       BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                             10 the document(s) with the Clerk of the Court by using the CM/ECF system.
                                Participants in the case who are registered CM/ECF users will be served by the
                             11 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                be served by mail or by other means permitted by the court rules.
                             12
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                                       I declare under penalty of perjury under the laws of the United States of
                             13 America that the foregoing is true and correct and that I am employed in the office
      KLINEDINST PC




                                of a member of the bar of this Court at whose direction the service was made.
                             14
                                       Executed on June 1, 2021, at Irvine, California.
                             15
                             16
                                                                                /s/ Linda Samson
                             17                                           Linda Samson
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                                                                         1                 Case No. 2:20-cv-04215-CJC-JPR
                                                             JOINT NOTICE OF SETTLEMENT
                           Case 2:20-cv-04215-JWH-JPR Document 39 Filed 06/01/21 Page 5 of 5 Page ID #:148




                              1                                        SERVICE LIST
                                                           Doroteo, et al. v. SN & BC, LLC, et al.
                              2                       Case No. 2:20-cv-04215-CJC-JPR (cm# 4852-5002)
                              3 Jose Garay                                              T: 949-208-3400
                                JOSE GARAY APLC                                         E: jose@garaylaw.com
                              4 25255 Cabot Road, Suite 219
                                Laguna Hills, CA 92653                                  Lead counsel for Plaintiffs
                              5                                                         ANA AVILA and ALMA AVILA
                                                                                        DOROTEO
                              6
                              7 Christopher J. Hamner, Esq.                             T: 888-416-6654
                                HAMNER LAW OFFICES, APLC                                F:
                              8 26565 West Agoura Road, Suite 200-197                   chamner@hamnerlaw.com
                                Calabasas, CA 91302
                              9                                                         Attorneys for Plaintiffs
                                                                                        ANA AVILA and ALMA AVILA
                             10                                                         DOROTEO
                             11
                                  JOINT NOTICE OF SETTLEMENT(19542150.1)
                             12
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                                                                           JOINT NOTICE OF SETTLEMENT
